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UNITED STATES DlSTR|CT COURT Fli.ED P" 7 & 130
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DIV|S|ON

UNITED STATES OF AMER|CA

 

-v- 2:04CR20100-05-M|

GERARD NORPHLET
J_u'l@gu_|i._C-J_A
Defense Attomey
80 Monroe Avenue, #450
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on November 30, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & Section MIMQFM Offense Numberls)
Conc|uded
18 U.S.C. § 1951 interference With Commerce by 10/31/2003 2

Threats or Violence

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 1, 3 and 4 are dismissed on the motion of the United States.

IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines restitution costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 425~49-3049 Date of imposition of Sentence:
Defendant’s Date of Birth: 07/15)'1975 lVlay 9, 2005
Deft’s U.S. Marshal No.: 19525-076

Defendant's lV|ai|ing Address:
4151 The Place, Apt. 5
lVlemphis, TN 38128

/Q»@ 111th

JoN PHiPPs MccALLA
uNrr sTATEs DisTRlcT JchE
May [Q l ,2005

 

'-his document entered on the docket sheet in compliance

am eula 55 and/or 32(1:») mch on §§ 1225 /g!

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months (or 5 Years).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesr except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of thisjudgment.

ADDIT|ONAL COND|TiONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CRIM|NAL MONETAR¥ PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payrnents may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $25,000.00

The Special Assessment shall be due immediately

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FlNE

No fine imposed

RESTITUT|ON

Restitution in the amount of $25,000.00 is hereby ordered The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amou nt of Order
Name of Payee AmOUnt E.§M or
of Loss Percentage
of Payment

FLEXTRON|CS, lNC., $25,000.00 $25,000.00
Attn: ALLAN HARKLEROAD,
CONTROLLER

6419 SHELBY V|EW DR|VE
MEMPH|S, TN 38119

lfthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income

Unless the court has expressly ordered othenivise in the special instructions above, ifthisjudgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED `sATEsDTIsRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

